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                      Exhibit A
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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 MATTHEW KOTILA, individually and on            Case No. 1:22-cv-00704
 behalf of all others similarly situated,
                                                Hon. Hala Y. Jarbou
        Plaintiff,
 v.

 CHARTER FINANCIAL PUBLISHING
 NETWORK, INC.,                                 CLASS ACTION

         Defendant.

            DECLARATION OF E. POWELL MILLER IN SUPPORT
              OF PLAINTIFF’S RESPONSE IN OPPOSITION TO
             DEFENDANT’S MOTION TO SET ASIDE DEFAULT
                   PURSUANT TO FED. R. CIV. P. 55(C)

 I, E. Powell Miller, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.     I am the Founding Partner of The Miller Law Firm, P.C., located in

 Rochester and Detroit, Michigan, and counsel of record for Plaintiff Matthew Kotila

 (“Plaintiff”) in this action. I am a member in good standing of the Michigan Bar and

 am a member of the bar of this Court. I have personal knowledge of the facts set

 forth in this declaration and, if called as a witness, I could and would testify

 competently thereto.

       2.     I submit this Declaration in Support of Plaintiff’s Response in

 Opposition to Defendant’s Motion to Set Aside Default Judgment Pursuant to Rule

 55(c) against Defendant Charter Financial Publishing Network, Inc. (“Defendant”).
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        3.     On August 3, 2022, Plaintiff initiated this action by filing his Class

 Action Complaint against Defendant. ECF No. 1. The following day, the Clerk of

 Court issued a Summons in a Civil Action as to Defendant. ECF No. 4.

        4.     After filing the matter, my firm undertook a search for Defendant’s

 registered agent and determined that Cogency Global, Inc. was the proper registered

 agent for Defendant. (See Exhibit 1 hereto — Cogency’s standard practices upon

 receipt of documents, website accessible at https://www.cogencyglobal.com/

 national-registered-agents). And on August 11, 2022, service of the Complaint and

 Summons was effectuated on Defendant at the address of Defendant’s registered

 agent, as specified by Defendant in its corporate filings. See ECF No. 5, PageID.534.

        5.     Defendant failed to answer or respond to the Complaint or otherwise

 defend the action within twenty-one days from the date of service of the Summons

 and Complaint, as required under Federal Rule of Civil Procedure 12(a)(1)(A)(i).

 Thus, on September 28, 2022, Plaintiff filed an Application for the Clerk of Court

 to enter a default against Defendant pursuant to Federal Rule of Civil Procedure

 55(a). ECF No. 7.

        6.     Plaintiff served a copy of the application for entry of clerk’s default on

 Defendant at the address of Defendant’s registered agent, as specified by Defendant

 in its corporate filings.

        7.     On October 19, 2022, the Clerk of Court issued an Entry of Default
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 against Defendant pursuant to Rule 55(a). ECF No. 12.

       8.     Plaintiff served a copy of the Clerk’s Entry of Default on Defendant at

 the address of Defendant’s registered agent, as specified by Defendant in its

 corporate filings.

       9.     Defendant is not currently in active military service, nor an infant or

 incompetent person.

       10.    On December 2, 2022, Plaintiff filed a Motion for Class Certification

 Pursuant to Rules 23(a) & 23(b)(3), and for Leave to Take Discovery Pursuant to

 Rule 55(b)(2). ECF No. 13.

       11.    Plaintiff served a copy of the motion for class certification and for leave

 to take discovery on Defendant at the address of Defendant’s registered agent, as

 specified by Defendant in its corporate filings.

       12.    On May 12, 2023, the Court issued its Opinion and Order on Plaintiff’s

 Motion for Class Certification, conditionally granting the motion to certify a class

 and directing plaintiff to provide a more specific proposed class definition within

 seven days. ECF Nos. 14, 15.

       13.    Plaintiff served a copy of the Court’s order conditionally certifying the

 class on Defendant at the address of Defendant’s registered agent, as specified by

 Defendant in its corporate filings.

       14.    On May 19, 2023, Plaintiff filed a supplemental brief, providing a more
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 specific class definition and requesting leave to take discovery. ECF No. 16.

        15.    Plaintiff served a copy of the supplement to the motion for class

 certification on Defendant at the address of Defendant’s registered agent, as

 specified by Defendant in its corporate filings.

        16.    On June 5, 2023, the Court issued an Order certifying the class,

 allowing plaintiff to conduct discovery, and directing plaintiff to file a motion for

 default judgment by August 16, 2023. ECF No. 17.

        17.    Plaintiff served a copy of the Court’s order certifying the class on

 Defendant at the address of Defendant’s registered agent, as specified by Defendant

 in its corporate filings.

        18.    Following the Court’s June 5, 2023 Order, Plaintiff’s counsel served 39

 notices of subpoena pursuant to Federal Rule of Civil Procedure 45, directed to

 various third party data companies, on Defendant at the address of Defendant’s

 registered agent, as specified by Defendant in its corporate filings.

        19.    After serving Defendant with the notices of subpoena on or about July

 14, 2023, Plaintiff’s counsel then promptly served these subpoenas on each of the

 39 third party data companies to which they were directed.

        20.    Plaintiff’s counsel expended $2,602.41 in out-of-pocket expenses in

 connection with effectuating service of the 39 subpoenas.

        21.    On July 17, 2023, Plaintiff received a response to his subpoena to Data
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 Services, Inc. (“DSI”) that included a subscriber list, transmitted by Defendant to

 DSI during the relevant time period, with the names and addresses of over 3,000

 persons in Michigan.

       22.    On August 15, 2023, Plaintiff received a response to his subpoenas to

 BPA Worldwide, Inc. (“BPA”) and Alliance for Audited Media (“AAM”) that

 included a subscriber list, transmitted by Defendant to BPA and/or AAM during the

 relevant time period, with the names and addresses of over 3,000 persons in

 Michigan.

       23.    Together the lists revealed that Defendant has indeed disclosed the

 subscription information of Class members: Plaintiff has determined that there are

 at least unique 3,416 names of members of the Class—Michigan subscribers to

 Defendant’s Financial Advisor magazine as of July 31, 2016, who had their name

 and that they subscribed to Financial Advisor, non-consensually disclosed to a third-

 party between April 25, 2016 and July 31, 2016.

       24.    In early August of 2023, Plaintiff agreed to retain Kroll to serve as

 Plaintiff’s proposed claims administrator in this matter and throughout August 2023,

 Plaintiff’s counsel worked with Kroll to devise a multi-part notice plan as follows:

 Kroll will perform skip traces on any returned undeliverable notices and those

 notices will be remailed to any new found addresses; further, Kroll will establish a

 customized case website that shall contain additional comprehensive information
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 about this class action, as well as access to important Court documents, upcoming

 deadlines, and the ability to file claim forms online (if needed for any unidentified

 class members), or an updated postal address. See also ECF No. 28, PageID.746-47.

       25.    Plaintiff’s counsel agreed to retain Kroll, at a cost of $19,915.00, to

 perform these services in this matter.

       26.    On August 16, 2023, following discovery as described above, Plaintiff

 filed his Motion for Default Judgment, including a request for approval of Plaintiff’s

 proposed notice plan to provide notice to the certified class members, pursuant to

 Fed. R. Civ. P. 23(b)(3) and 55(b) and brief in support. ECF Nos. 27, 28.

       27.    Plaintiff served a copy of the motion for approval of the proposed notice

 plan on Defendant at the address of Defendant’s registered agent, as specified by

 Defendant in its corporate filings.

       28.    All told, Plaintiff’s counsel will have expended $22,517.41 in costs as

 a result of Defendant’s default.

       I declare under penalty of perjury that the above and foregoing is true and

 accurate. Executed this 19th day of October, 2023 at Rochester, Michigan.

                                                     /s E. Powell Miller
                                                     E. Powell Miller
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                      EXHIBIT 1
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                      NATIONAL REGISTERED AGENTS AND REGISTERED
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                         WHAT A REGISTERED AGENT SHOULD BE
                         Companies and nonprofits are required by
                         law to appoint registered agents and
                         registered offices for every state they’re
                         located in to receive and respond to
                         sensitive legal documents (service of
                         process), tax information, compliance
                         communications, and more. Organizations
                         that operate in multiple states often
                         choose to appoint a national registered
                         agent company. When your company was formed, your registered agent may have been
                         chosen for you without you understanding the details.


                         A qualified, nationwide registered agent ensures important legal documents are handled
                         promptly and in accordance with the laws of the jurisdiction in all states where you do
                         business. When you appoint our experts as your registered agent or registered office in
                         the U.S., we’re a part of your team, not just a name on a form.




                           Download our resource guide to learn the do’s and don’ts of working with a registered agent.


https://www.cogencyglobal.com/national-registered-agents                                                                                       1/4
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